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UNlTED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA

CASE NO. 6:17-Cv-278-OrI-28KRS
ABDULLAH RABBAT,

Plairltiff(s),
vs.

COVINGTON SPECIALTY INSURANCE
COMPANY,

Defendant(s).

MEDlATION DISPOSITION REPORT

ln accordance with the Court’s mediation order(s), a mediation conference was held on August 24,
2017, and the results of that conference are indicated below:

(a) The following individuals, parties, corporate representatives, and/or claims professionals
attended and participated in the mediation conference, and each possessed the requisite

/settlernent authority:
All individual parties and their respective tn`al counsel
Designated corporate representatives
Required claims professionals

 

 

(b) The following individuals, parties, corporate representatives and/or claims professionals
failed to appear and/or participate as ordered: MM
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(c) The outcome of the mediation conference was:

The case has been completelv settled. ln accordance with Local Rule 9.06(b), lead counsel
will promptly notify the Court of settlement in accordance with Local Rule 3.08 by the
filing of a settlement agreement signed by the parties and the mediator within ten (10) days
of the mediation conference

The case has been partially resolved and lead counsel has been instructed to file a joint
stipulation regarding those claims which have been resolved within ten (lO) days. 'l`he
following issues remain for this Court to resolve:

 

 

 

 

 

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The conference was continued with the consent of all parties and counsel The mediation

conference will be held on a date certain not later than ten (10) days prior to the scheduled

trial date. Any continuance beyond that time must be approved by the presiding Judge.
/ Mediation Reports will be filed aher additional conferences are complete

The parties have reached an impasse
Done this August 24, 2017, in ()range County1 Florida.

CERT[FICATE OF SERVICE

l hereby certify that on § 254 2 ?_, I electronically filed the foregoing with the

Clerk of Court using the ECF system which sent notification of such filing to: Asher Perlin,
Esquire, aperlin@flplg.com; jschumaker@flplg.com; eservice@flplg.com; William R. Lewis,
Esquire, Wlewis@butler.legal; eservice@butler.legal; Yemil Aragon, Esquire,
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Ki£plferly Sands, Mediator

Mediator # 14737R

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